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                                      #:5413

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11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                  SOUTHERN DIVISION
14      JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20

21

22
23

24
25
                                        Exhibit M
26
27

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